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                          UN ITED STA TE S D ISTR ICT C O UR T
                          SO U TH E RN D ISTR ICT O F FLO IH D A
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                                         / a J.
                                              6'/J- S/- e'a'c',a
                                                   '




 U NITED STATE S O F A M ERIC A

 VS.

 M A U RICIO A LV A REZ ,

       D efendant.
                                                  /

                                CR IM INA L C O V ER SH EET


       D id thism atteroriginate from am atterpending in the N orthern Region ofthe U nited States
       Attonw y's Office priorto October l4,2003?                    Y es     x      No


                                            Respectfully subm itted,

                                            BEN JA M W G .GR EEN BER G
                                            U N ITED STA TES A TTORN EY




                                            EM IL A RO S
                                            SpecialA ssistantUnited StatesA ttonw y
                                            CourtID N o.A 5502275
                                            99 N ortheast4th Street
                                            M iam i,Florida 33132-2111
                                            Te1:(305)961-9136
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                                            Emily.Rose@usdoj.gov
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AO 91(Rev.1l/1l) CriminalComplaint

                                U NITED STATES D ISTRICT COURT
                                                       forthe
                                            Southern DistrictofFlorida

               United StatesofAmerica                    )
                                                         )
                  MAURICIO ALVAREZ,
                                                         )
                                                         )      casexo.jj'
                                                                         mJ Jyj-
                                                                               ?-kl,
                                                                                   x-,
                                                                                     rk,a
                                                                                     .




                                                         )
                                                         )
                                                         )

                                         C RIM IN A L C O M PLA IN T
         1,thecomplainantin thiscase,state thatthe following istruetothebestofm y knowledgeand belief.
On oraboutthedatets)of                 4/1/2018              inthecounty of              Miami-Dade          inthe
   Southern Districtof               Florida         ,thedefendantts)violated:
           CodeSection                                           OffenseDescri
                                                                             ption
Ti
 tle 18,Uni
          ted StatesCode,               M isconductornegl
                                                        ectofshipofficer
Section1115




         Thiscrim inalcomplaintisbased onthesefacts:
SeeAttachedAlidavit




         d Continuedontheattachedsheet.
                                                                                          %

                                                                                Complainant'
                                                                                           ssignature
                                                                         Jeremy Baldwin,SpecialAgerIt/CGIS
                                                                                 Printednameand title

Swornto before meand signed in my presence.


D ate:         04/06/2018
                                                                                  Judge'ssignature

City and state'
              .                                                   Hon,Andrea M .Sim onton,U.S.Magistrate Judge
                                                                                 Printednameand title
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                                          A FFID A V IT

        1,Jerem y Baldw in,SpecialA gentofthe United States CoastG uard lnvestigative Service,

 (hereinafter,'tCGlS''),beingdulysworn,herebydeposeandstatethefollowing:
                l am a Special A gent w ith the U nited States Coast G uard lnvestigative Service

 (CGIS),DepartmentofHomeland Security,andhavebeen so employedforthepast12years. 1
 am currently assigned to the CG IS ResidentA gentO ftk e M iam i,Florida asa SpecialA gent. A s

 such,Iam an investigative or1aw enforcem entofficerofthe U nited States w ithin the m eaning of

 Title 18 ofthe U nited States Code that is em pow ered by law to conductinvestigations ofand to

 m ake arrests foroffensesenum erated in the U nited States Code.

        2.     The statem entscontained in thisA ffidavitare based on m y personalknow ledge,as

 w ell as inform ation provided by other individuals,including law enforcem ent ofticials,and m y

 review of records, docum ents and other physical item s obtained during the course of this

 investigation.lhave not included each and every fact know n to m e or 1aw enforcem entin this

 investigation. Ihave setforth only the factsthatIbelieve arenecessary to establish probable cause

 thatM auricioAlvarez(ALVAREZ),whilethecaptain orotherperson employedon avessel,by
 m isconduct,negligence,and inattention to hisdutieson such vesseldid destroy the lifeofaperson,

 thatis,cause the death ofR .M .P.,in violation ofTitle 18,United States Code,Section 1115.

               O n or aboutA prill,2018,a M iam i-D ade 911 operatornotified the U nited States

 CoastGuard (USCG)abouta reportthata person wastrapped underthe motor yacht(M /Y)
 M IA M IV ICE,nearM onum entIsland. U SCG and locallaw enforcem entunitsarrived atthe scene

 ofthereportedincidentandlocatedM /Y M IAM IVICE adjacenttoMonumentlsland,inBiscayne
 Bay,w ithin M iam i-D ade County,Florida.
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                Florida Fish and W ildlife Conservation Commission (FW C) initiated an
 investigation. According to inform ation received during this investigation,M /Y M IAM I V ICE

 w as chartered for a four-hour period on Apl'il 1,2018. Initialreports revealed that A LVA REZ

 w as em ployed asthe vesselcaptain ofM /Y M IA M IV ICE and hisson,A .A .,w asem ployed asthe

 First M ate. On the afternoon of April 1, 2018, M /Y M IA M I V ICE departed a m arina w ith

 approximatelyseven(7)passengers,ALVAREZ,andA.A.
                An individual,later identified as R .M .P.,w asa passenger on M /Y M IA M I VICE.

 W hileM/Y MIAM IVICE waslocated adjacentto M onumentIsland in BiscayneBay,R.M .P.,
 along with a second passenger,w ere reportedly in the w aterin close proxim ity to the stern ofM /Y

 M IA M IVICE.A LV A REZ reportedly engaged theenginesofM /Y M IA M IV IC E in reverse while

 R.M .P.w asstillswim m ing in the water. Prelim inary infonnation indicatesthatR.M .P.wasstnzck

 by M /Y M IA M IV ICE'Spropellers and killed. A notherpassengerofthe M /Y M IA M IV ICE was

 injured.
                The passengers on the M /Y M IA M I V ICE provided written statem ents to FW C .

 The injured passengerreported thathe paid $3,000.00 to charterM /Y M IAM IVICE. The
 passenger further indicated that while he and R .M .P.w ere sw im m ing in the w ater,R.M .P.got

 sucked up by the propeller.

                A second passengerstated thaton A pril 1,2018,M /Y M IA M IV ICE w asata sand

 bar,and twopeople from thevesseljumped in the water.The second passengerindicated they
 w ere going to pick up m ore friendsand w ere getting ready to leave. The second passengerw as on

 the vesselatthistim e. The second passenger stated thatthe captain neverinfonned anyone that

 M /Y M IA M IV ICE w as officially leaving,nor did the captain com e to the back of the vesselto

 double-check if everyone boarded the vessel again. A fter the engines started, one of the
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 individualsin thew aterbegan yelling to turn the enginesoff Oncethe enginesstopped,the second

 passengernoticed a cloud ofblood in the w ater.

                On oraboutA pril2,2018,law enforcem entconducted a consensualsearch ofM /Y

 M IAM IV ICE. Law enforcem entobserved the location ofthe throttle and captain's chairon M /Y

 M IA M I V ICE. Based on m y training,experience,and personalobservations,a captain and/or

 operatorofM /Y M IA M IV ICE w ould notbe able to see the stern ofthe vesselorensure the safety

 ofany rem aining swim m ers in the w ater while engaging the engines from this location without

 assistance f'
             rom another individual.

                On or about A plil 5, 2018,CG IS established phone contact with A LV A REZ.

 During a phone interview with CG IS,A LVA REZ stated he w ashired to serve as captain on M /Y

 M IAM IV ICE. A LVA REZ claim ed he started chartering M /Y M IA M IV IC E six m onthsago and

 has com pleted approxim ately forty charters on the vessel. A LV AR EZ indicated thaton April 1,

 2018,the ownerofM /Y M IA M IV ICE em ployed him asthe Captain ofM /Y M IA M IV ICE fora

 fourhour charter,and A .A .w as em ployed asthe FirstM ate. ALV A REZ also stated thathe w as

 to bepaid $150 perhourforthefourhoursofthecharteron M /Y M IAM IVICE.
        10.    A LV AREZ stated that duling the charter,the M /Y M IA M I V ICE w as stopped

 adjacenttoMonumentIslandandhispassengerswereswimminginthewater.ALVAREZ claimed
 that one ofthe passengers requested to departso thatthey could pick up anotherpassenger ata

 nearby m arina. A LV A REZ indicated thathe agreed and told the passengersw ho w ere sw im m ing

 in the w aterto getback on M /Y M IAM IV ICE. H e stated he electronically placed the stern ladder

 onto M /Y M IA M IV ICE and then w alked to the operating chair to startthe engines. The stern

 ladder on M /Y M IA M IV ICE isused to allow sw im m ersre-entry onto the vesselfrom the w ater.

 Once he started the engines and placed the vesselinto reverse,A LV A REZ stated thathe heard a
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 loud scream com ing from the rearofthe M /Y M IA M IV ICE. ALV A REZ claim ed thathe ran to

 the rearofthe vesseland noticed one ofthe passengers was in the water yelling thathe could not

 feelhislegs. ALVAREZ then jumped into the waterto pullthe passenger into the vessel.
 A LVA REZ stated thathe noticed blood in the w aterand could notlocate the second passenger.

               A LVA REZ further stated thathe regretted notensuring every passengerknew that

 he w as going to startthe M /Y M IA M IV ICE'S engines. A LVA REZ stated his FirstM ate,A .A .,

 his son,was standing nextto him when he engaged the engines in reverse. He never instructed

 A .A .to stand atthe rearofthe vesselto see ifanyone w asin the water. A LV A REZ also adm itted

 to not having a U nited States Captain license and never having any form al class training on

 operating a m otor vessel. A LV A REZ also stated thatthe M /Y M IAM IV ICE is the largestvessel

 hehas every operated.

               Based on m y training,experience,personalobservations,and conversations w ith

 otherexperienced boatcaptains,a captain and/oroperatorofa vesselthe size ofthe M /Y M IA M I

 V ICE who is notable to see the stern ofthe vesselfrom the piloting location,should ensure a11of

 thepassengerson the vesselarenotified thatthe enginesare aboutto be engaged,thatal1swim m ers

 are outofthe waterbefore engaging the engines,and require a lookoutto stand w atch atthe stern

 ofthe vesselwhile operating in reverse.

               Law enforcem entinvestigation revealed thatA LV A REZ w asstopped on M arch 18,

 2018,and issued a N otice ofV iolation by the U SCG for operating an illegalcharter w hile being

 an unlicensed Captain. The illegalcharterw as term inated atthattim e by the U SCG .

        14.    On April 5, 2018,law enforcem ent discovered that A LVA REZ and A .A . had

 purchased airline tickets that sam e m orning to departFortLauderdale lnternationalA irportand

 travel to Panam a City, Panam a on Spirit Airlines. D uring the consensualphone intelwiew of



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 A LVA REZ on April5,2018,ALV A REZ indicated thathe had plans to travelto Orlando,Florida

 to visita fam ily m em ber. A LV A REZ stated he w as staying w ith his fam ily in FortLauderdale,

 Florida, but did not provide an address when asked. A LV A REZ also never m entioned his

 scheduled planned travelto Panam a to CG IS duling the consensualphone interview . According

 to airline records,A LV A REZ attem pted to purchase hisairline ticketto Panam a priorto hisphone

 callw ith law enforcem ent,buthis creditcard w asdeclined. A LV AR EZ finalized the purchase of

 the airlineticketto Panam aafterhisphonecallw ith law enforcem entand an incorrectdate ofbirth

 w as subm itted forhisticket.

        15.    On the evening ofApril5,2018,1aw enforcem entobserved ALV A REZ and A .A .

 atFortLauderdale Intem ationalailport. A LV A REZ and A .A .had severallarge bags w ith them .

 Law enforcem entdetained A LV A REZ and A .A .atthe airportto conductan interview . In a post-

 M iranda interview ,A LV A REZ stated he w as attem pting to leave the U nited States because he

 w as scared ofbeing crim inally charged and felthe could m ake a betterdecision ofw hatto do if

 he w as outside the United States. A review ofA LV A REZ'S passportrevealed thathe had been

 issued a new passporton A pril5,2018.

        16.    Based on the foregoing facts,I subm itthatprobable cause exists thaton orabout

 April 1,2018,in M iam i-D ade County,in the Southern D istrictofFlorida,M auricio A LVA REZ,

 in M iam i-D ade County,in the Southern D istrict of Florida,M auricio A LVA REZ, w hile the

 captain or otherperson em ployed on a vessel,by m isconduct,negligence,and inattention to his

 dutieson such vesseldid destroy the life ofa person,thatis,cause the death ofR.M .P.,in
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 violation ofTitle 18,United StatesCode,Section 1115.

 FU RTH ER A FFIAN T SA Y ETH NA U G HT.


                                                                    4.


                                               Je y Baldwin,SpecialA gent
                                               U .S.CoastG uard lnvestigative Service

 Subscribed and sw orn to before m e
 this6th day ofApril,2018.

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 AN D REA M .SIM ON TO N
 UN ITED STA TES M A GISTR ATE JUD G E




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